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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
         v.                                 )       Case No: 1:16-mj-0867
                                            )
CHRISTIAN CHAPMAN,                          )
                                            )
       Defendant.                           )

      ORDER GRANTING MOTION FOR REVOCATION OF RELEASE ORDER

       This matter is before the Court on the Government’s request that the Court conduct a de

novo review of the Magistrate Judge’s Order permitting pretrial release of Defendant Christian

Chapman (“Chapman”). Pursuant to 18 U.S.C. § 3145(a), the District Court Judge has reviewed

the Magistrate Judge’s Order Setting Conditions of Release (Filing No. 10) and Minute Order

(Filing No. 11), entered on the record on November 23, 2016. The Court has reviewed a transcript

of the proceedings held on November 23, 2016, the pretrial services report (“PS3”) prepared by

the United States Probation Office, and has considered the Government’s Motion for Review of

Release Order (Filing No. 12), as well as testimony, proffers, exhibits and argument submitted at

the November 28, 2016 hearing. The Court finds that Chapman has not overcome the burden of

production to show that he is not a danger to the community. Even if Chapman were able to

overcome his burden, the Government has offered sufficient evidence that there are no conditions

or combination of conditions which would overcome the unacceptable risk that Chapman’s release

poses a danger to any person or the community. Accordingly, the Government’s Motion for

Revocation of Release Order is GRANTED.
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                                        I.    BACKGROUND

       On November 18, 2016, Chapman was charged by Complaint with one count of violating

Title 21, United States Code, Sections 841 and 846 by conspiring to possess with intent to

distribute and to distribute 500 grams or more of methamphetamine. Chapman waived his right

to a preliminary hearing and probable cause was found. The Government orally moved for pretrial

detention pending trial pursuant to Title 18, United States Code, Section 3142(f)(1)(B) and (C), on

the basis that Chapman is charged with an offense under the Controlled Substance Act for which

the maximum penalty is ten years or more.             The parties agreed that there is a rebuttable

presumption for detention given the charges and that defendant is tasked with bringing forward

evidence that he is not a risk of flight or danger to the community.

       The Magistrate Judge conducted a hearing to determine whether any condition or

combination of conditions set forth in subsection (c) of the statute would reasonably assure the

appearance of Chapman as required and the safety of any other person and the community. At the

detention hearing, the Magistrate Judge found the Government had not shown by clear and

convincing evidence that there was no combination of conditions that could reasonably assure the

safety of others or the community and Chapman was ordered released under certain conditions.

The Government moved for a stay of the Magistrate Judge’s order pending de novo review by the

District Court Judge.

                                  II.        FINDINGS OF FACT

       Chapman has presented evidence that he has significant ties to the community. He is a

lifelong resident of either Edgar County, Illinois or Vermillion County, Indiana and currently

resides in Clinton, Indiana with his girlfriend and 16 year old son. He has no verified employment

history, but reports that he is self-employed selling antiques. He reports no mental health issues,

however he suffers from Crohn’s disease. Chapman has no history of violence in his criminal
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history. He has three prior felony convictions involving controlled substances: a 1993 felony

conviction for manufacture/delivery of cannabis; a 1993 felony conviction for Possessing a

Schedule I/II Controlled Substance; and a 2000 conviction for three counts of Possession of a

Schedule I, II, or III Controlled Substance. His last known felony conviction was over 16 years

ago. On November 1, 2016, Chapman was arrested and charged in Edgar County, for felony

Possession of Methamphetamine and paraphernalia. He posted a $1,500.00 cash bond and was

released from custody on November 2 or November 3, 2016. Chapman was arrested for dealing

in controlled substances (the instant offense) on November 17, 2016 in Clinton, Indiana. At the

time of his arrest, Chapman tested positive for cocaine and amphetamines.

       At the hearing before this Court, the Government presented evidence of the nature and

circumstances of the offenses charged. The weight of evidence against Chapman is as follows:

An investigation commenced in February 2016 which involved court authorized interception of

several cellular telephones. Chapman was intercepted at various times over the course of the

investigation engaging in drug trafficking. On November 17, 2016, forty federal search warrants

were executed in furtherance of the ongoing wiretap investigation, including at Chapman’s home.

When officers executed a search warrant at Chapman’s residence they observed him throw an

ounce (approximately 28 grams) of methamphetamine on the ground. Also within the residence,

officers found approximately two pounds of marijuana and three firearms. The firearms were

unloaded and there were several rounds of ammunition found in the residence. Officers also found

scales, a pipe, and corner cut baggies in the residence. Chapman’s girlfriend is the owner of one

of the three firearms. At the time of his arrest, Chapman admitted that he had been purchasing

methamphetamine on multiple occasions, receiving between half pound and one and a half pound

quantities each time.



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       The Government also presented evidence from Vermillion County Sheriff’s Detective

Chad Hennis (“Det. Hennis”) regarding Chapman’s ongoing drug trafficking activity in Vermillion

County.

       The Court finds the Government’s argument to be credible and persuasive. The Court is

not convinced by clear and convincing evidence that Chapman would abide by any conditions of

release to protect others from the dangerous criminal activity of drug possession and trafficking.

                               III.    CONCLUSIONS OF LAW

       Detention may be based on a showing of either dangerousness or risk of flight; proof of

both is not required. United States v. Fortna, 769 F.2d 243, 249 (5th Cir. 1985). With respect to

reasonably assuring the safety of any other person and the community, the Government bears the

burden of proving its allegations by clear and convincing evidence. 18 U.S.C. § 3142(f); United

States v. Salerno, 481 U.S. 739, 742, 107 S.Ct. 2095, 2099, 95 L.Ed.2d 697 (1987); Portes, 786

F.2d at 764; Orta, 760 F.2d at 891 & n. 18; Leibowitz, 652 F. Supp. at 596; United States v. Knight,

636 F.Supp. 1462, 1465 (S.D. Fla. 1986). Clear and convincing evidence is something more than

a preponderance of the evidence but less than proof beyond a reasonable doubt. Addington v.

Texas, 441 U.S. 418, 43 1-33, 99 S.Ct. 1804, 1812-13, 60 L.Ed.2d 323 (1979).

       In determining whether there are conditions of release that will reasonably assure a

defendant’s appearance and the safety of any other person and the community, the Court must take

into account the following factors under 18 U.S.C. § 3142(g):

       (1) the nature and circumstances of the offense charged, including whether the
           offense is a crime of violence . . . ;

       (2) the weight of the evidence against the accused;

       (3) the history and characteristics of the person, including—




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           (A) the person’s character, physical and mental condition, family ties,
           employment, financial resources, length of residence in the community,
           community ties, past conduct, history relating to drug or alcohol abuse, criminal
           history, and record concerning appearance at court proceedings; and

           (B) whether, at the time of the current offense or arrest, the person was on
           probation, on parole, or on other release pending trial, sentencing, appeal, or
           completion of sentence for an offense under Federal, State, or local law; and

       (4) the nature and seriousness of the danger to any person or the community that
           would be posed by the person’s release . . . .

18 U.S.C. § 3142(g)(1)-(3)(A), (B), and (4).

       The Court has considered the evidence presented on the issue of release or detention and

weighed both in accordance with the factors set forth in 18 U.S.C. § 3142(g) and the legal standards

set forth above.    Among the factors presented for the Court’s consideration is Chapman’s

character, family ties, employment, length of residence in the community, community ties, past

conduct, and criminal history. See 18 U.S.C. § 3142(g)(3)(A). However, the presence of

community ties and related ties have been found to have no correlation with the issue of safety of

the community. United States v. Delker, 757 F.2d 1390, 1396 (3rd Cir. 1985); S.Rep. No. 98- 225,

98th Cong., 1st Sess. at 24, reprinted in 1984 U.S. Code Cong. & Admin. News 3182, 3207-08.

       The Court finds the Government has shown by clear and convincing evidence that

Chapman presents a danger to the community and a danger to the safety of any other person in the

community. Specifically, the Court has considered the nature and circumstances of the offense

charged. Chapman was intercepted at various times during the investigation planning to meet and

purchase methamphetamine for sale. Chapman admitted that he had purchased methamphetamine

on multiple occasions receiving between a half pound and up to one and a half pound quantities

each time. A search of his home recovered a large quantity of methamphetamine, as well as

marijuana and cash. Chapman is a three time convicted felon of controlled substance offenses.

Three unloaded firearms, two of which belonged to Chapman, were located in Chapman’s home,
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along with some ammunition.          The ammunition consisted of a three-quarter full can of

ammunition, a magazine with three rounds on the dresser and ammunition on the kitchen cabinet.

The weight of the evidence against Chapman is strong and favors detention. 18 U.S.C. § 3142

(g)(2).

          Chapman has a history relating to drug trafficking in his community, dating back to 1993

when he was convicted of manufacture/delivery of cannabis 30-500 grams. More recently,

Chapman was arrested on November 1, 2016 for possession of methamphetamine and

paraphernalia, wherein digital scales, cutting agents and large quantities of cash were allegedly

located in Chapman’s black Ford truck. Further, Det. Hennis testified that over the past six months,

neighbors have complained to the drug task force of heavy traffic of persons in and out of

Chapman’s residence. In June 2016, following a heroin overdose death in Vermillion County,

officers received a call that Chapman is the person who supplied the heroin. On October 16, 2016,

a subject was found passed out behind the wheel of his vehicle with a heroin needle in his arm.

The vehicle was within one half block of Chapman’s residence. After coming out of a coma, that

person informed law enforcement officers that Chapman supplied him with the heroin. On three

recent occasions, Chapman was found by law enforcement to have on or near his possession, large

sums of cash. During a traffic stop in September/October 2016, $3,000.00 cash was found in a

brown paper bag located in Chapman’s vehicle. In July 2016, during a traffic stop, $9,000.00 cash

was found in Chapman’s vehicle. During his November 1, 2016 arrest, $2,161.00 cash was found

in Chapman’s wallet once it was removed from his pocket.

          Although there is no evidence that the firearms were used in connection with the instant

methamphetamine trafficking, the fact that the firearms and large quantities of methamphetamine,

marijuana and cash were located in his current residence where his teenage son resides, and that



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he continued to possess methamphetamine while released on bond following his November 1,

2016 arrest for possession of methamphetamine, are of concern to the Court. The Court is

persuaded by the Government’s argument that Chapman has continued to possess and sell

methamphetamine and continued to use cocaine while on bond for a drug offense and that home

incarceration or other conditions of release would not be sufficient to prevent future danger. While

the Court does not find that Chapman presents a risk of flight, it does find that he presents a danger.

Based on Chapman’s history, characteristics, past and present conduct, the Court finds that no

conditions or combination of conditions exist which would overcome the unacceptable risk that

Chapman’s release poses a danger to any person or the community.

                                            IV.       ORDER

       For the reasons stated above, the District Court’s de novo determination is that the

Government has met its burden of proof and the Government’s Motion for Revocation of Release

Order (Filing No. 12) is GRANTED. Chapman is remanded to the custody of the United States

Marshal pending trial or other disposition of this matter.

       SO ORDERED.

Date: 11/28/2016

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